






Opinion issued May 31, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-01110-CV






DEDRICK T. DAVIS,  Appellant


V.


LANISHA SIMON,  Appellee






On Appeal from the 308th District Court

Harris County, Texas

Trial Court Cause No. 2006-29222






MEMORANDUM OPINION	Appellant, Dedrick T. Davis, has neither established indigence nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov't
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  After being
notified that this appeal was subject to dismissal, Davis did not adequately respond. 
See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).

	We dismiss the appeal for nonpayment of all required fees and deny all pending
motions.PER CURIAM

Panel consists of Justices Taft, Jennings, and Alcala .


